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                                                     United States District Court
                                                     Central District of California


 UNITED STATES OF AMERICA vs.                                             Docket No.            CR 14-00338 (A) SJO-9

 Defendant        MARSHALL, Antonio                                       Social Security No. 7         1   3     0

          Anthony Marshall; Antoine Terrell Marshall;                     (Last 4 digits)
 akas:    Antonio Marshal; “Lil’ Bone,” “Ant” - monikers

                                        JUDGMENT AND PROBATION/COMMITMENT ORDER

                                                                                                                MONTH       DAY     YEAR
           In the presence of the attorney for the government, the defendant appeared in person on this date.   March         6,     2017

  COUNSEL                                                        Errol H. Stambler (Appointed)
                  (Name of Counsel)

     PLEA         X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO                   NOT
                                                                                                            CONTENDERE               GUILTY
   FINDING         There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
                  18 U.S.C. § 1962(d), 18 U.S.C. § 1963(a): Racketeer Influenced and Corrupt Organizations Conspiracy as charged in
                  Count 1 of the First Superseding Indictment; 21 U.S.C. § 846, 21 U.S.C. § 841(b)(1)(B) Conspiracy to Distribute
                  Controlled Substances as charged in Count 12 of the First Superseding Indictment.
 JUDGMENT         The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
 AND PROB/        contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
   COMM           Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to the
   ORDER          custody of the Bureau of Prisons to be imprisoned for a term of:

It is ordered that the defendant shall pay to the United States a special assessment of $200, which is
due immediately. Any unpaid balance shall be due during the period of imprisonment, at the rate of
not less than $25 per quarter, and pursuant to the Bureau of Prisons' Inmate Financial Responsibility
Program.

Pursuant to Guideline § 5E1.2(a), all fines are waived as the Court finds that the defendant has
established that he is unable to pay and is not likely to become able to pay any fine.

Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant,
Antonio Terrell Marshall, is hereby committed on Counts 1 and 12 of the First Superseding
Indictment to the custody of the Bureau of Prisons for a term of 130 months. This term consists of 130
months on each of Counts 1 and 12 of the First Superseding Indictment, to be served concurrently.

Upon release from imprisonment, the defendant shall be placed on supervised release for a term of 8
years. This term consists of 5 years on Count 1, and 8 years on Count 12 of the First Superseding
Indictment, all such terms to run concurrently under the following terms and conditions:

1.   The defendant shall comply with the rules and regulations of the United States Probation Office
and General Order 05-02.


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2.       The defendant shall not commit any violation of local, state, or federal law or ordinance.

3.    During the period of community supervision, the defendant shall pay the special assessment in
accordance with this judgment's orders pertaining to such payment.

4.       The defendant shall cooperate in the collection of a DNA sample from the defendant.

5.     The defendant shall refrain from any unlawful use of a controlled substance. The defendant
shall submit to one drug test within 15 days of release from imprisonment and at least two periodic
drug tests thereafter, not to exceed eight tests per month, as directed by the Probation Officer.

6.    The defendant shall participate in an outpatient substance abuse treatment and counseling
program that includes urinalysis, breath and/or sweat patch testing, as directed by the Probation
Officer.

7.    During the course of supervision, the Probation Officer, with the agreement of the defendant
and defense counsel, may place the defendant in a residential drug treatment program approved by the
United States Probation Office for treatment of narcotic addiction or drug dependency.

8.    When not employed or excused by the Probation Officer for schooling, training, or other
acceptable reasons, the defendant shall perform 20 hours of community service per week as directed
by the Probation Office.

9.    The defendant shall not associate with anyone known to him to be a Broadway Gangster Crips'
gang member and others known to him to be participants in the Broadway Gangster Crips' gang's
criminal activities, with the exception of his family members. He may not wear, display, use or
possess any gang insignias, emblems, badges, buttons, caps, hats, jackets, shoes, or any other clothing
that defendant knows evidence affiliation with the Broadway Gangster Crips' gang, and may not
display any signs or gestures that defendant knows evidence affiliation with the Broadway Gangster
Crips' gang.

10. As directed by the Probation Officer, the defendant shall not be present in any area known to
him to be a location where members of the Broadway Gangster Crips' gang meet and/or assemble.

11. Except as directed by the Probation Officer, the defendant shall not reside in any area known as
Broadway Gangster Crips controlled territory, which includes territory claimed in South Los Angeles,
the territory defined as (to the North) Vernon Avenue, (to the East) Avalon Boulevard, (to the West)
the 110 Freeway, and (to the South) Slauson Avenue.

12. The defendant shall submit his person, vehicle, residence, and cell phone to search at any time,
with or without warrant, by any law enforcement or Probation Officer with or without reasonable
suspicion concerning a violation of a condition of supervised release or unlawful conduct by the
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defendant, and by any Probation Officer in the lawful discharge of the officer's supervision function.

The Court authorizes the Probation Office to disclose the Presentence Report to the substance abuse
treatment provider to facilitate the defendant's treatment for narcotic addiction or drug dependency.
Further redisclosure of the Presentence Report by the treatment provider is prohibited without the
consent of the sentencing judge.

The Court advises the Defendant of his right to appeal.

The Court recommends that the defendant shall be designated in Arizona and the he participate in the
Bureau of Prison’s Residential Drug Abuse Program.

In the interest of justice the Court grants the government’s motion to dismiss all remaining counts of
the Superseding Indictment.




  In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
  Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
  supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
  supervision for a violation occurring during the supervision period.




             March 6, 2017                                         S. James Otero
             Date                                                  U. S. District Judge/Magistrate Judge

  It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.

                                                                   Clerk, U.S. District Court



             March 6, 2017                                   By    Victor Paul Cruz
             Filed Date                                            Deputy Clerk



  The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).

                             STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                              While the defendant is on probation or supervised release pursuant to this judgment:




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  1.   The defendant shall not commit another Federal, state or local crime;     10.   the defendant shall not associate with any persons engaged in criminal
  2.   the defendant shall not leave the judicial district without the written         activity, and shall not associate with any person convicted of a felony
       permission of the court or probation officer;                                   unless granted permission to do so by the probation officer;
  3.   the defendant shall report to the probation officer as directed by the    11.   the defendant shall permit a probation officer to visit him or her at
       court or probation officer and shall submit a truthful and complete             any time at home or elsewhere and shall permit confiscation of any
       written report within the first five days of each month;                        contraband observed in plain view by the probation officer;
  4.   the defendant shall answer truthfully all inquiries by the probation      12.   the defendant shall notify the probation officer within 72 hours of
       officer and follow the instructions of the probation officer;                   being arrested or questioned by a law enforcement officer;
  5.   the defendant shall support his or her dependents and meet other          13.   the defendant shall not enter into any agreement to act as an informer
       family responsibilities;                                                        or a special agent of a law enforcement agency without the
  6.   the defendant shall work regularly at a lawful occupation unless                permission of the court;
       excused by the probation officer for schooling, training, or other        14.   as directed by the probation officer, the defendant shall notify third
       acceptable reasons;                                                             parties of risks that may be occasioned by the defendant’s criminal
  7.   the defendant shall notify the probation officer at least 10 days prior         record or personal history or characteristics, and shall permit the
       to any change in residence or employment;                                       probation officer to make such notifications and to conform the
  8.   the defendant shall refrain from excessive use of alcohol and shall not         defendant’s compliance with such notification requirement;
       purchase, possess, use, distribute, or administer any narcotic or other   15.   the defendant shall, upon release from any period of custody, report
       controlled substance, or any paraphernalia related to such substances,          to the probation officer within 72 hours;
       except as prescribed by a physician;                                      16.   and, for felony cases only: not possess a firearm, destructive device,
  9.   the defendant shall not frequent places where controlled substances             or any other dangerous weapon.
       are illegally sold, used, distributed or administered;


        The defendant will also comply with the following special conditions pursuant to General Order 01-05 (set forth below).

           STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

            The defendant shall pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
  restitution is paid in full before the fifteenth (15th) day after the date of the judgment pursuant to 18 U.S.C. §3612(f)(1). Payments may be subject
  to penalties for default and delinquency pursuant to 18 U.S.C. §3612(g). Interest and penalties pertaining to restitution, however, are not
  applicable for offenses completed prior to April 24, 1996.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant shall pay the
  balance as directed by the United States Attorney’s Office. 18 U.S.C. §3613.

          The defendant shall notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
  residence until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. §3612(b)(1)(F).

         The defendant shall notify the Court through the Probation Office, and notify the United States Attorney of any material change in the
  defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. §3664(k). The
  Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim, adjust
  the manner of payment of a fine or restitution-pursuant to 18 U.S.C. §3664(k). See also 18 U.S.C. §3572(d)(3) and for probation 18 U.S.C.
  §3563(a)(7).

           Payments shall be applied in the following order:

                     1. Special assessments pursuant to 18 U.S.C. §3013;
                     2. Restitution, in this sequence:
                               Private victims (individual and corporate),
                               Providers of compensation to private victims,
                               The United States as victim;
                     3. Fine;
                     4. Community restitution, pursuant to 18 U.S.C. §3663(c); and
                     5. Other penalties and costs.




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                               SPECIAL CONDITIONS FOR PROBATION AND SUPERVISED RELEASE

           As directed by the Probation Officer, the defendant shall provide to the Probation Officer: (1) a signed release authorizing credit report
  inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure; and (3) an accurate financial statement, with
  supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant shall not apply for any loan or open
  any line of credit without prior approval of the Probation Officer.

           The defendant shall maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary proceeds
  shall be deposited into this account, which shall be used for payment of all personal expenses. Records of all other bank accounts, including
  any business accounts, shall be disclosed to the Probation Officer upon request.

          The defendant shall not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
  approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                These conditions are in addition to any other conditions imposed by this judgment.




                                                                      RETURN

  I have executed the within Judgment and Commitment as follows:
  Defendant delivered on                                                                      to
  Defendant noted on appeal on
  Defendant released on
  Mandate issued on
  Defendant’s appeal determined on
  Defendant delivered on                                                                    to
      at
      the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                      United States Marshal


                                                               By
             Date                                                     Deputy Marshal




                                                                  CERTIFICATE

  I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
  legal custody.

                                                                      Clerk, U.S. District Court
                                                               By

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             Filed Date                                            Deputy Clerk




                                                FOR U.S. PROBATION OFFICE USE ONLY


Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.

         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


         (Signed)
                    Defendant                                                     Date




                    U. S. Probation Officer/Designated Witness                    Date




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